Case 1:22-cv-00173-KES-HBK                Document 1        Filed 02/09/22   Page 1 of 8


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 7

 8                           IN THE UNITED STATES DISTRICT COURT
 9           FOR THE EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
10

11 NATHANIEL MYERS                                        Case No.:
12                   Plaintiff(s),                        COMPLAINT FOR DAMAGES
13          v.                                            42 U.S.C. § 1983
                                                          Supplemental State Law Claims
14 COUNTY OF FRESNO; UNKNOWN
   FRESNO COUNTY SHERIFF OFFICERS;
15 UNKNOWN DEFENDANTS

16                   Defendant(s).
17

18

19 TO THE HONORABLE COURT:

20          Plaintiff NATHANIEL MYERS, through his undersigned counsel, hereby makes the
21 following allegations against the defendants, and each of them.

22                                      JURISDICTION AND VENUE
23          1.       This Court has original jurisdiction over the proceeding pursuant to 28 U.S.C. §§

24 1331 and 1343, as this action is one for damages arising under the United States Constitution and

25 other federal laws providing remedies for deprivations of the rights and privileges of citizens of the

26 United States.

27          2.       This Court has venue in this action pursuant to 28 U.S.C. § 1391(b), as the actions

28 giving rise to this action all occurred within this judicial district.
     COMPLAINT FOR DAMAGES
Case 1:22-cv-00173-KES-HBK             Document 1        Filed 02/09/22       Page 2 of 8


 1                     COMPLIANCE WITH STATE CLAIM PROCEDURES

 2          3.      Plaintiffs have complied with the pertinent provisions of the California Government

 3 Code by submitting a claim for damages on May 6, 2021 within six months of the incident giving

 4 rise to this action, and they have further complied with those provisions by filing this action within

 5 six months of the issuance of the denial of those claims.

 6                                               PARTIES

 7          4.      Plaintiff, NATHANIEL MYERS (“Plaintiff”), is a citizen and at all relevant times

 8 was a resident of the State of California, County of Fresno.

 9          5.      Defendant COUNTY OF FRESNO (“Fresno County”) is a local municipal body and

10 a political subdivision of the State of California. Fresno County is primarily responsible funding and

11 supervising the Fresno County Sheriff’s Department, which had primary responsibility for Plaintiff

12 while he was in custody at the Fresno County Jail. Plaintiff is informed and believes that the customs,

13 policies and practices of Fresno County contributed to the constitutional violations alleged herein,

14 and, as permitted by applicable law, those customs, policies and practices will be specified at a later

15 point in this proceeding, after an appropriate opportunity to conduct discovery. Fresno County is also

16 vicariously liable under state law for the misconduct of its individual employees.

17          6.      Plaintiff is ignorant of the true names and capacities of defendants sued herein as

18 UNKNOWN FRESNO COUNTY SHERIFF OFFICERS and UNKNOWN DEFENDANTS and

19 therefore sues said defendants by such fictitious names. Along with the named individual defendants,

20 each of the fictitious defendants is legally responsible and liable for the injuries and damages alleged

21 herein. Plaintiff will amend this complaint to allege the true names and capacities of these defendants

22 when they are ascertained.

23                                     FACTUAL ALLEGATIONS

24          7.      On November 25th 2020, Plaintiff was arrested and booked into Fresno County Jail

25 and charged with six counts of lewd and lascivious acts with a child under 14. Plaintiff was unable to

26 bail out of jail due to the nature and amount of the allegations which set Plaintiff’s bail at nearly

27 $700,000.

28
     COMPLAINT FOR DAMAGES                                                                               2
Case 1:22-cv-00173-KES-HBK            Document 1        Filed 02/09/22      Page 3 of 8


 1         8.      While being booked into the jail, Plaintiff was told by an unknown Fresno County

 2 Correctional Officer that he had to sign a paper which stated that he would be in a general population

 3 pod and that this placement was his only option.

 4         9.      It is widely understood amongst Fresno County Sheriff’s Officers that individuals in

 5 the Fresno County Jail facing such allegations are targeted by other inmates with physical violence

 6 and therefore require housing in pods designed to provide protection from such violence.

 7         10.     Plaintiff was thereafter placed in a large open pod without individual cells by

 8 Unknown Fresno County Sheriff Officers. Approximately 70 incarcerated males were housed in this

 9 pod and would sleep on exposed bunk beds in a large open area. Plaintiff was forced to choose an

10 exposed bunk bed in this pod, easily accessible by other inmates.

11         11.     Unknown Fresno County Sheriff’s employees had meanwhile prepared a news

12 release detailing the allegations against Plaintiff and also implying that further alleged victims

13 existed which was thereupon released to media outlets. Unknown Fresno County Sheriff’s Officers

14 broadcast this news release to the entire pod via the jail television set, publicizing the criminal

15 allegations made against Plaintiff to approximately 70 inmates in exposed bunk beds.

16         12.     Later that evening while Plaintiff was sleeping, he was brutally assaulted by

17 numerous unknown individuals. The savage attack rendered Plaintiff unconscious for an unknown

18 period of time before an ambulance was eventually called to transport him to Community Regional

19 Medical Center’s Department of Emergency Medicine.

20         13.     Plaintiff was later discharged from Community Regional Medical Center on

21 November 26, 2020 to the Fresno County Jail with a soft cast on his fractured left arm, sutures

22 closing lacerations on his face and a series of staples closing an approximately two inch hole on the

23 back of his broken skull. Upon return to the Fresno County Jail, Fresno County Sheriff’s Officers

24 informed Plaintiff that he was to be put back into the same general population pod where he had just

25 been violently attacked, only now completely defenseless and surrounded by his attackers.

26         14.     Plaintiff was only placed in a medical recovery cell after pleading with Officers to

27 please not be sent back to the pod where he had just been attacked. Unknown Officers informed

28
     COMPLAINT FOR DAMAGES                                                                             3
Case 1:22-cv-00173-KES-HBK              Document 1        Filed 02/09/22       Page 4 of 8


 1 Plaintiff that he was only allowed to stay in the recovery cell for 25 hours and then he would be sent

 2 back to the pod full of his attackers, defenseless.

 3          15.      Plaintiff was only able to escape the impending danger caused by Unknown Fresno

 4 County Officers by immediately contacting family members and pleading for his life. Plaintiff’s

 5 family members saved Plaintiff from almost certain further harm by securing a bond before the afore-

 6 mentioned 25 hours had elapsed.

 7          16.      The vicious attack resulted in serious head and facial injuries, including a closed

 8 fracture of his lateral orbital wall, and a closed fracture of his right maxilla. Plaintiff’s left arm was

 9 also fractured and Plaintiff suffered multiple contusions, lacerations and abrasions to multiple parts

10 of his body.

11          17.      These injuries have required extensive painful surgeries and caused recurring vision

12 problems, body pain, and persisting difficulty performing previously simple tasks.

13                                        CLAIMS FOR RELIEF

14                                      FIRST CLAIM FOR RELIEF

15                Deliberate Indifference to Serious Safety Needs - 4th and 14th Amendment

16                                            (42 U.S.C. § 1983)

17                                   (Against all Individual Defendants)

18          18.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

19 fully set forth herein.

20          19.      Defendants' above-alleged misconduct and their failure to take any steps or measures

21 to account for the clear and known risk to which Plaintiff was subjected constituted deliberate

22 indifference to Plaintiff’s serious safety needs.

23          20.      As a direct and proximate result of Defendants' conduct, plaintiffs were damaged as

24 alleged hereinabove.

25          21.      The aforementioned misconduct of the individual Defendants were malicious,

26 reckless and/or accomplished with a conscious disregard of Plaintiff’s rights thereby entitling

27 Plaintiff to an award of exemplary and punitive damages according to proof and as permitted by law.

28
     COMPLAINT FOR DAMAGES                                                                                 4
Case 1:22-cv-00173-KES-HBK              Document 1        Filed 02/09/22      Page 5 of 8


 1                                     SECOND CLAIM FOR RELIEF

 2                             Municipal Liability - 4th and 14th Amendment

 3                                            (42 U.S.C. § 1983)

 4                                 (Against Defendant County of Fresno)

 5          22.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

 6 fully set forth herein.

 7          23.     Plaintiff is informed and believes that County of Fresno maintained a policy or de

 8 facto unconstitutional informal custom or practice that was the moving force behind the assault on

 9 Plaintiff. The customs, policies and/or practices of said Defendants were a direct and proximate

10 cause of Plaintiff’s injuries because County of Fresno policies resulted in a failure to adequately train

11 and supervise their employees and/or agents to prevent the occurrence of the constitutional violations

12 suffered by Plaintiff. County of Fresno also failed to promulgate appropriate policies or procedures

13 or take other measures to prevent this incident, including by systemically understaffing the Fresno

14 County Jail and by failing to detect and communicate inmate violence.

15          24.     Defendants' above-alleged misconduct constituted deliberate indifference to

16 Plaintiff’s serious safety needs.

17          25.     As a direct and proximate result of the aforementioned customs, policies and/or

18 practices of Kings County, the plaintiffs suffered the injuries and damages as alleged hereinabove.

19                                     THIRD CLAIM FOR RELIEF

20                            Supervisory Liability - 4th and 14th Amendment

21                                            (42 U.S.C. § 1983)

22                                     (Against Individual Defendants)

23          26.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

24 fully set forth herein.

25          27.     The named defendants failed to adequately supervise the Fresno County jail staff and

26 inmates, and those failures constituted deliberate indifference to Plaintiff’s serious safety needs. The

27 named defendants also were deliberately indifferent in failing to take other measures to prevent this

28
     COMPLAINT FOR DAMAGES                                                                                5
Case 1:22-cv-00173-KES-HBK              Document 1        Filed 02/09/22        Page 6 of 8


 1 incident, including engaging in inadequate trainings and briefings regarding inmate conflicts, and

 2 potential conflicts and also in systematically understaffing the jail.

 3          28.     As a direct and proximate result of the aforementioned customs, policies and/or

 4 practices of County of Fresno, the Plaintiff suffered the injuries and damages as alleged hereinabove.

 5          29.     The aforementioned misconduct of the named defendants were malicious, reckless

 6 and/or accomplished with a conscious disregard of decedent's rights thereby entitling Plaintiff to an

 7 award of exemplary and punitive damages according to proof and as permitted by law.

 8                                    FOURTH CLAIM FOR RELIEF

 9                   Negligent Hiring, Retention, Supervision, Training, and Staffing

10                                          (California State Law)

11                                         (Against All Defendants)

12          30.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

13 fully set forth herein.

14          31.     The named defendants have authority to hire, retain, supervise, train, and/or staff the

15 Fresno County Jail and have the concomitant duty under state law to exercise due care in doing so.

16 These defendants breach those duties and thereby caused the damages of Plaintiff.

17          32.     As a direct and proximate result of this misconduct, the Cotta estate and Madison

18 suffered the injuries and damages as alleged hereinabove

19          33.     These injuries and damages are compensable under California law.

20                                      FIFTH CLAIM FOR RELIEF

21         Violation of the Eighth and Fourteenth Amendments to the U.S. Constitution and the

22                               California Constitution Art I., §§ 7, 13, 15

23                                        (Cal. Civil Code § 52.1(b))

24                                         (Against All Defendants)

25          34.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

26 fully set forth herein.

27          35.     Defendants, and each of them, violated Plaintiff’s federal and state constitutional

28 rights to prisoner safety by being deliberately indifferent to the clear risks to his well-being.
     COMPLAINT FOR DAMAGES                                                                               6
Case 1:22-cv-00173-KES-HBK               Document 1         Filed 02/09/22       Page 7 of 8


 1 Defendants also failed to appropriately train, supervise, and promulgate customs, policies and/or

 2 practices in order to prevent Plaintiff’s injuries, thereby being further deliberately indifferent to his

 3 federal and state constitutional rights.

 4          36.      As a direct and proximate result of Defendants’ violations, Plaintiff suffered harm as

 5 alleged herein.

 6          37.      As a further consequence of Defendants’ violations and interference with Plaintiff’s

 7 rights, the Plaintiff is entitled to the remedies, attorney fees, and civil penalties pursuant to Cal. Civil

 8 Code § 52.1, et seq.

 9                                       SIXTH CLAIM FOR RELIEF

10                                     California State Law - Negligence

11                                            (Against All Defendants)

12          38.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 17, as though

13 fully set forth herein.

14          39.      As a result of the defendant officers’ actions in detaining, arresting, and initiating the

15 prosecution of Plaintiff, he was subject to negligent misconduct and is entitled to seek compensation

16 under California law. Specifically, the officers had a duty under California law not to cause harm to

17 him, and also to engage in the non-negligent performance of their duties. The defendant officers

18 breached those duties as to Plaintiff on November 25, 2020 and caused him harm.

19          40.      As a direct and proximate result of the defendant officers’ violation of his

20 constitutional rights, Plaintiff has suffered substantial damages, as described hereinabove.

21          41.      The defendant officers’ conduct entitled Plaintiff to an award of compensatory

22 damages

23                                         PRAYER FOR RELIEF

24          WHEREFORE, Plaintiff prays for the following relief from Defendants and each of

25 them, jointly and severally as allowed by law, as follows:

26          1. For general and special damages against defendant in an amount proven at trial;

27          2. For punitive damages against the individual defendant, in an amount appropriate to

28                punish and to deter others from engaging in similar misconduct;
     COMPLAINT FOR DAMAGES                                                                                   7
Case 1:22-cv-00173-KES-HBK              Document 1        Filed 02/09/22        Page 8 of 8


 1          3. For statutory damages and penalties;

 2          4. For prejudgment interest as allowed by applicable law;

 3          5. For costs and attorney’s fees as authorized by statute or law;

 4          6. For all other damages as provided by Cal. Civil Code §§52.1 and 52 including up to three

 5              times actual damages and a civil penalty of $25,000.00 to be awarded to Plaintiff;

 6          7. For other such relief as the Court may deem proper.

 7                                  DEMAND FOR TRIAL BY JURY

 8          Plaintiff hereby demands a trial by jury as to all his claims for relief.

 9
     Dated: February 9, 2022                                LAW OFFICE OF KEVIN G. LITTLE
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11
                                                            /s/ Kevin G. Little
12                                                          Kevin G. Little
                                                            Attorney for Plaintiff Nathaniel Myers
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     COMPLAINT FOR DAMAGES                                                                           8
